             Case 1:10-cr-00361-JLT Document 24 Filed 07/05/11 Page 1 of 2


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 7                         UNITED STATES DISTRICT COURT
 8                        EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           )       1:10-cr-00361 LJO
                                         )
11                     Plaintiff,        )       STIPULATION TO CONTINUE TRIAL
                                         )       DATE TO OCTOBER 3, 2011 AND
12                                       )       CHANGE August 29, 2011 TRIAL
           v.                            )       CONFIRMATION HEARING TO STATUS
13                                       )       CONFERENCE; ORDER THEREON
                                         )
14   TERRY LEE SCHNEIDER II and          )       Date: N/A
     NICOLE JEAN SCHNEIDER,              )       Time: N/A
15                                       )       Ctrm: 4
                       Defendants.       )           Hon. Lawrence J. O’Neill
16                                       )
17
18         IT IS HEREBY STIPULATED by and between the parties hereto,
19   through their respective attorneys of record, that the start of
20   this action’s trial be continued from Monday, August 29, 2011 at
21   8:30 a.m. to Monday, October 3, 2011 at 8:30 a.m.            The parties
22   further agree to change this action’s trial confirmation hearing,
23   presently set to commence at 8:45 a.m. on Friday, July 29, 2011,
24   to a status conference set to take place at the same place, date
25   and time.    At the status conference, the parties will address the
26   re-scheduling of the trial confirmation hearing as well as the
27   status of any efforts to resolve the case.
28

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     STIPULATION TO CONTINUE TRIAL DATE TO OCTOBER 3, 2011 AND CHANGE JULY 29, 2011
            TRIAL CONFIRMATION HEARING TO STATUS CONFERENCE; [PROPOSED] ORDER
             Case 1:10-cr-00361-JLT Document 24 Filed 07/05/11 Page 2 of 2


 1         The parties base this stipulation on good cause, in that the
 2   court advised the parties that the trial date will need to be
 3   moved in light of a major re-calibration of judicial caseloads
 4   set to take place in the coming weeks and/or months.             For the
 5   above-stated reason, the stipulated continuance will conserve
 6   time and resources for both parties and the court.             Any delay
 7   resulting from this continuance shall be excluded in the
 8   interests of justice, and the ends of justice in endorsing this
 9   stipulation through formal order outweigh the interests of
10   defendants and the public in a speedy trial.             See 18 U.S.C. §§
11   3161(h)(7)(A) and 3161(h)(7)(B)(ii).
12                                       BENJAMIN B. WAGNER
                                         United States Attorney
13
14   Dated: June 30, 2011            By:_/s/ Brian W. Enos__________
                                        BRIAN W. ENOS
15                                      Assistant U.S. Attorney
16
                                         (As auth. 7/5/11)
17
     Dated: July 5, 2011                  /s/ Marc J. Days
18                                       MARC J. DAYS
                                         Attorney for Defendant
19                                       Terry Lee Schneider II
20                                       (As auth. 6/30/11)

21   Dated: June 30, 2011                 /s/ Carl M. Faller
                                         CARL M. FALLER
22                                       Attorney for Defendant
                                         Nicole Jean Schneider
23
                                    ORDER
24   GOOD CAUSE EXISTS, FACTUALLY AND LEGALLY. TIME IS EXCLUDED FOR
     GOOD LEGAL AND FACTUAL CAUSE AS STATED IN THE STIPULATION.IT IS SO
25   ORDERED.
26   b9ed48Dated:   July 5, 2011            /s/ Lawrence J. O'Neill
                                        UNITED STATES DISTRICT JUDGE
27
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     STIPULATION TO CONTINUE TRIAL DATE TO OCTOBER 3, 2011 AND CHANGE JULY 29, 2011
            TRIAL CONFIRMATION HEARING TO STATUS CONFERENCE; [PROPOSED] ORDER
